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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


 AFFIDAVIT OF KEVIN A. LAVELLE IN SUPPORT OF PLAINTIFFS’ OPPOSITION
TO DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO SEEK LEAVE TO FILE
                             SUR-REPLY




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         I, Kevin A. Lavelle, declare, under penalty of perjury:

         1.         I am a member of the law firm of Robbins Geller Rudman & Dowd LLP, the State

Bar of California, am admitted pro hac vice to the above-referenced action, and am lead counsel for

lead plaintiff Mohammad Bozorgi. I submit this affidavit in support of Plaintiffs’ Opposition to

Defendants’ Motion for Extension of Time to Seek Leave to File Sur-Reply.

         2.         Attached is a true and correct copy of the following exhibits:

         Exhibit 1:        August 29, 2024 Email from Scott Campbell to Kevin Lavelle RE Class
                           Certification Issues;

         Exhibit 2:        In re BP p.l.c. Sec. Litig., 4:10-md-02185, ECF 686 (S.D. Tex. Nov. 7,
                           2013);

         Exhibit 3:        In re BP p.l.c. Sec. Litig., 4:10-md-02185, ECF 693 (S.D. Tex. Nov. 15,
                           2013);

         Exhibit 4:        Marcus v. J.C. Penney Co., 6:13-cv-007336, ECF 121 (E.D. Tex. Feb. 5,
                           2016);

         Exhibit 5:        City of Pontiac Gen. Emps.’ Ret. Sys. v. Dell Inc., 1:15-cv-00374, ECF 121
                           (W.D. Tex. July 22, 2017);

         Exhibit 6:        In re: Anadarko Petroleum Corp. Sec. Litig., 4:20-cv-00576, ECF 228 (S.D.
                           Tex. May, 13, 2024).

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

September 6, 2024.

                                                                  /s/ Kevin A. Lavelle
                                                                 KEVIN A. LAVELLE




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